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                                       July 14, 2020

VIA ECF

The Honorable Michael A. Shipp
U.S. District Court for the District of New Jersey
Clarkson S. Fisher Building & U.S. Courthouse
402 East State Street
Trenton, NJ 08608

       Re:    UMG Records, Inc., et al. vs. RCN Telecom Services, LLC, et al.
              Civil Action No. 19-17272-MAS-ZNQ

Dear Judge Shipp:

        This firm represents Defendants in the above-referenced matter. We write to
advise the Court of the district court’s July 8, 2020 decision in UMG Recordings, Inc., et
al. v. Bright House Networks, LLC, No. 8:19-cv-710-MSS-TGW (M.D. Fla.) (“Bright
House”) (attached as Exhibit A). Defendants respectfully request that the Court consider
Bright House—which likewise involves secondary copyright infringement claims against
an internet service provider—as supplemental authority supporting Defendants’ pending
motions to dismiss Plaintiffs’ claims for vicarious copyright infringement. See RCN
Defs.’ Mem. ISO Mot. to Dismiss at 27–33 (ECF No. 15-1); Patriot’s Mem. ISO Mot. to
Dismiss at 10–12 (ECF No. 30-1).

       In Bright House, the district court dismissed the vicarious infringement claims of
the plaintiff recording companies—many of which are Plaintiffs in this case—for failure
to plausibly allege the “direct financial benefit” element of the claim. The district court’s
reasoning is directly applicable to Plaintiffs’ claims here.

        Most importantly, the Bright House court rejected Plaintiffs’ argument that “they
can satisfy the direct financial benefit requirement simply by alleging that the ability to
download infringing content is one of many reasons some subset of subscribers subscribe
to Bright House’s services.” Bright House at 9–10. The court reasoned that such a
standard “effectively reads the limiting term ‘direct’ out of the test,” and that the
copyright plaintiff must instead “allege that the availability of infringing content provides
the main customer draw to the service.” Id. at 10 (emphasis in original; quotations,
alterations & citation omitted). As Defendants have pointed out in their motions to
dismiss, the Bright House court recognized that “to accept Plaintiffs’ theory would
impose liability on every ISP, as the music at issue is available on the Internet generally,
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as is the BitTorrent protocol, and is not something exclusively available through Bright
House’s services.” Id. at 13 (quotations, alterations & citation omitted).

       Thus, Plaintiffs failed to state a claim against Bright House because their
allegations did “not support a reasonable inference or plausibly assert that the main draw
for Bright House subscribers is access to infringing content generally available on the
internet.” Id. at 11–12 (underline added; italics in original). Here, the Court should
dismiss Plaintiffs’ vicarious infringement claims for the same reason: because Plaintiffs
do not, and cannot, allege that access to infringing content was the “main draw” for
RCN’s subscribers. See, e.g., Am. Compl., ¶¶ 6–7, 99.

        Furthermore, the Bright House court found that Plaintiffs did not plausibly allege
that access to infringing content drew subscribers to Bright House at all. Specifically,
Plaintiffs did not allege that there was “anything unique about the service Bright House
provides as a portal to the internet or as a portal to this alleged contraband content.”
Bright House at 10–11 (“In stark contrast [to the foundational cases regarding vicarious
liability], all that is alleged here is that Bright House offers a conduit to the ‘World Wide
Web.’ In fact, Plaintiffs candidly acknowledge that the available infringing content is
found on the robust peer-to-peer sharing platforms ubiquitous to the internet and driven
largely by BitTorrent (and similar networks), which are, as discussed, in no way affiliated
with or controlled by Bright House or any other ISP, for that matter.”). The same is true
here—Plaintiffs do not allege that RCN provides its subscribers with any unique access
to infringing content, and they have therefore failed to state a claim.

       Additionally, the Bright House court rejected as insufficient Plaintiffs’ other
“direct financial benefit” allegations. The court rejected Plaintiffs’ “‘dog-whistle’ theory
that Bright House advertises faster internet speeds to surreptitiously entice the
prospective infringer,” because this allegation failed to show that “access to infringing
content” was the “main draw” for subscribers. Bright House at 11–12; compare with
Am. Compl., ¶ 64 (alleging that RCN advertises fast internet speeds to entice copyright
infringers). For similar reasons, the court rejected Plaintiffs’ argument that Bright
House’s “failure to police . . . infringing subscribers adequately” could supply the
necessary draw. Id. at 12–13 (“[T]his is not the test: the test is whether users are drawn
to Bright House by the availability of infringing content.” Nor, if this were the test, is
there an allegation in the complaint that the main draw for Bright House subscribers is
the company’s alleged failure to take meaningful action against copyright infringement.”)
(emphasis in original); compare with Am. Compl., ¶ 99 (“Upon information and belief,
RCN’s failure to adequately police its infringing subscribers was also a draw for
customers . . . .”). The court also rejected the notion that Plaintiffs could satisfy this
element by alleging that the defendant has “an economic incentive to tolerate infringing
conduct.” Bright House at 13–14.

       Finally, Defendants note that the Bright House court expressly considered and
declined to follow the district court’s decision in Warner Records Inc. v. Charter
Communications, Inc., which the parties addressed in previous letters to the Court. See
ECF Nos. 64, 65, 67. Specifically, the court was critical of Charter’s “expansive
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interpretation of the direct financial benefit requirement,” and it considered the Charter
court’s reliance on the defendant’s alleged failure to police its subscribers to be
“unpersuasive.” Bright House at 15.

        For the foregoing reasons, and for the reasons previously stated in support of
Defendants’ Motions to Dismiss (ECF Nos. 15 and 30), Defendants respectfully request
that the Court dismiss Plaintiffs’ vicarious copyright infringement claims under Rule
12(b)(6). Defendants also respectfully reiterate their request for oral argument, which
Defendants believe would be helpful in light of the complex issues addressed in the
parties’ briefing.



                                          Respectfully Submitted,

                                          /s/ Edward F. Behm, Jr.

                                          Edward F. Behm, Jr.


EFB:gc
CC: All counsel of record via ECF
